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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                              CASE NO: 8:06-cr-464-T-17TGW

 ARNELL DEVON ELROD

                                  AMENDED

      Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under 18
                       U.S.C. § 3582(c)(2) Based on USSG Amend. 782

          Before the Court is the defendant’s motion to reduce his prison term under 18 U.S.C. §

 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG

  §1B1.10(d) (2014). Doc.# 751. The United States does not oppose a reduction. Doc. #751. The

 parties stipulate that he is eligible for a reduction because Amendment 782 reduces the guideline

 range applicable to him, see USSG §1B1.10(a)(1). Doc. #751. The Court agrees that he is

 eligible for a reduction and adopts the amended guideline calculations in the parties’ stipulation.

 Doc. #751.

          Having reviewed the facts in both the original presentence investigation report and the

 February 12, 2015 memorandum from the United States Probation Office in light of the factors

 in 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any danger posed

 by a reduction, see USSG §1B1.10, comment. (n.l(B)(ii)), the Court finds that a reduction of 16

 months is warranted. Consistent with USSG §1B1.10(e)(1), and in light of the practical

 difficulties of a possible release date on Sunday, November 1, 2015, the effective date of this

 order is November 2,2015.

          Thus:

          (1)     The Court grants the defendant’s motion, Doc. #751.

          (2)     The Court reduces the defendant’s prison term from 78 to 62 months or time
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                served, whichever is greater.

         (3)    The effective date of this order is November 2, 2015.

         DONE and ORDERED in Chambers, Tampa, Florida on January^2016.




  Copies furnished to:

 Counsel of Record
 Magistrate Judge
 United States Marshals Service
 United States Probation Office
 United States Pretrial Services
